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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,                 )
                                       )
         Plaintiffs,                   )
                                       )      CIVIL ACTION NO.
         v.                            )        2:14cv601-MHT
                                       )             (WO)
JOHN HAMM, in his                      )
official capacity as                   )
Commissioner of                        )
the Alabama Department of              )
Corrections, et al.,                   )
                                       )
         Defendants.                   )

                                    ORDER

       During an on-the-record status conference on April

8, 2022, the court discussed with the parties whether to

revise the format of the weekly SMI reports in light of

the     Phase    2A   Omnibus     Remedial     Order    (Doc.    3464)      at

§ 3.1.4. The court also discussed the possibility of

mediation of the issue before Judge Ott.

       Based on the parties’ representations, it is ORDERED

that (1) the defendants are to continue submitting the

SMI reports in their current format and (2), on or before
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June 1, 2022, the parties are each to submit a proposal

on how to proceed on the issue of revising the reports.

    DONE, this the 20th day of April, 2022.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




                                   2
